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ATTACHMENT # A
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Material, whether or not the same are used and/or exploited and regardless of the medium involved,
and Artist may register such copyright in his own name (or the name of any designee); and (iii) without
limitation of any other rights or remedies of Artist and/or any Artist Parties, Artist and/or the Artist
Parties shall be entitled to recover any and all monies or other benefits whatsoever received by or on
behalf of you, from any and all sources, in connection with any use and/or dissemination by or on
behalf of you of any confidential information and/or Prohibited Material hereunder, and any such
monies or other benefits so received by or on behalf of you shall be held in trust by or on behalf of you
for immediate payment to Artist and/or Artist Parties; (e) you shall not (and shall not authorize or
facilitate any third party to) use and/or reference Artist and/or Artist Parties’ name or identity (including
your relationship with Artist and/or any Artist Party) with respect to any transaction, sale of goods or
other solicitation; and (f) without limiting the foregoing, you shall not at any time defame or disparage
Artist and/or the Artist Parties and/or use, disclose, disseminate or confirm, directly or indirectly, to
anyone any information or material which may harm, disparage, demean or reflect negatively or poorly
upon or cause injury to the reputation, character or career of Artist and/or any of the Artist Parties. The
foregoing expressly includes, without limitation, communications appearing on the Internet via blogging
and/or social networking sites such as Facebook, Twitter and Instagram. Without limiting the
foregoing, you shall not, without Artist’s prior written authorization (in Artist’s sole discretion): (A)
distribute, publish or permit the distribution or publication of photographs, videotapes, films, audio
tapes or any other recorded sound or image or any other materials of Artist and/or Artist Parties
(whether or not the same constitutes Prohibited Material); or (B) copy, excerpt or otherwise use and/or
dispose of any Artist and/or Artist Parties materials, including any property or materials in your
possession or control that belong to Artist and/or the Artist Parties (and/or, if such property does not
belong to Artist and/or Artist Parties, which contain Prohibited Material to the extent you have not
delivered and removed such Prohibited Material therefrom as required hereunder) (including, without
limitation, data, documents, records, smartphones, computers, files, etc.), and that upon expiration or
termination of the relationship with or in connection with Artist (or such earlier date as Artist may
require), you or your legal representatives, heirs, successors or assigns shall promptly deliver
possession to Artist, in good condition, any such property of Artist and/or Artist Parties and/or other
records, copies, excerpts and other aforementioned materials that are in your possession or control.
2. You acknowledge that, due to the nature of the entertainment industry, any disclosure or
dissemination by you of any information or material described in paragraph 1 will deprive Artist and/or
the Artist Parties of the right to use such information or material. You expressly agree that, if you
breach or threaten to breach paragraph 1, Artist and/or the Artist Parties would suffer immediate
irreparable harm and injury which could not be adequately compensated by an award of monetary
damage. In addition to all other rights or remedies available to Artist and/or the Artist Parties, Artist
and/or the Artist Parties shall be entitled to injunctive relief and all other remedies provided in such
event by law or equity. Such remedies shall include, without limitation, the right to prevent
dissemination of any information or materials described in paragraph 1. You agree to execute any
documents and take such other actions as may be reasonably requested by Artist and/or the Artist
Parties to further evidence or effectuate the rights set forth in this Agreement. You hereby appoint
Artist as your attorney-in-fact (which appointment is irrevocable and coupled with an interest) with full
power of substitution and delegation to execute all such documents which you fail to execute within
five (5) days after Artist and/or any Artist Party’s request therefor.
3. The term of this Agreement and duty to keep all information confidential and not use Prohibited
Material shall commence on the first date above and continue for the life of Artist plus twenty (20)
years or seventy (70) years, whichever is longer.
4. You warrant and represent that: (a) you have the full right, power and authority to enter into this
Agreement and be bound by the obligations herein; (b) neither the execution, delivery nor performance
of this Agreement by you shall conflict with or result in a default or loss of rights under any agreement
or understanding to which you or any of your affiliates is a party or by which you or any of your
properties may be bound; (c) this Agreement constitutes your valid and binding obligation enforceable
in accordance with its terms; and (d) you have signed this Agreement voluntarily, without duress,
coercion or undue influence. This Agreement shall be deemed to have been entered into in the State of
New York, and its validity, interpretation and legal effect shall be governed by the laws of the State of
New York applicable to contracts entered into and performed entirely therein. The New York courts




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